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                                                 November 7, 2023

VIA EMAIL AND ECF

The Honorable Vincent L. Briccetti
United States District Court Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

          Re:     United States v. Anthony Jacobs, 23-cr-413 (VB)

Dear Honorable Judge Briccetti:
          I respectfully submit this letter in support of a downward variance for Mr. Jacobs’s
sentencing scheduled before this Court on November 21, 2023, at 11:00 a.m.
I.        The JSIN Materials Should Not be Included in the Pre-Sentence Report (“PSR”)

         Mr. Jacobs objects to the inclusion of JSIN data here as insufficiently reliable for the Court
to take into account for sentencing. Such statistical information is not listed in Federal Rule of
Criminal Procedure 32 or in Monograph 107 as one of the items that must be in a Presentence
Report. More importantly, while properly conducted statistical analysis may be quite relevant to
sentencing in certain cases, the data as presented in this case are skewed upward and therefore
misleading.
         Although the reason for these being included in the PSR is not explicitly stated other than
this District was chosen as part of a pilot study, it appears this information is being offered to
provide information about defendants similarly situated to Mr. Jacobs. However, this information
is not reliable for several reasons, as detailed below, which skews the data upwards suggesting a
longer prison sentence.
     •    The JSIN data includes only “length of imprisonment,” rather than “sentence length.” As
          a result, both probationary sentences and alternative confinements are excluded, skewing
          the results upward.
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   •   The JSIN data accounts for “time served” sentences differently than probationary
       sentences, treating the number of months served prior to sentencing as the sentence
       intended by the judge, even if the intent of the judge was to impose a noncustodial
       sentence.
   •   Sentences with § 5K1.1 departure are excluded. This skews the data away from 0, when
       underlying conduct is arguably similar.
   •   Career offenders and defendants facing mandatory minimums are automatically included.
   •   The data here includes only national results. Due to regional differences, for example in
       how state cases enhancing the federal guideline range are prosecuted, data from this
       district as well as from the Second Circuit should also be included if any statistics are to
       be considered.
   •   The data presented here only include the last five years. It should instead include all the
       available data, going back at least ten years.
   •   JSIN “averages” omits information on where sentences fall within the guideline range.
       There is nothing inherently wrong with an average as a standalone descriptive statistic,
       but statistics are not neutral. It is only natural to project onto a statistic certain assumption
       about a group of say, similarly situated defendants.
   •   JSIN relies on different data than are publicly available from U.S.S.C. or on additional
       unstated parameters. Federal defender organizations and the Sentencing Resource
       Counsel analysts have tried to replicate JSIN. It is not clear what else is determining their
       values.
       In sum, JSIN provides aggregate statistics for all defendants that fall in a particular
 guidelines cell (offense level and criminal history category), but the offenders included in this
 cell are not necessarily “similar” and there is no way to determine in which ways they are
 similar or dissimilar. On the contrary, for the reasons noted above, the data is skewed upward
 in a way that cannot be accounted for. JSIN is a data tool and with all data tools, the
 developer’s choices of what data to include, exclude, report, and not report will affect the tool’s
 results. Due to the Commission’s choices within JSIN, the tool’s default makes it seem like
 judges impose more severe sentences than they actually do. The inclusion of this information in
 the report is therefore misleading and contrary to an individualized assessment of defendants to
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 be sentenced, as required under 18 U.S.C. § 3553(a) and the Due Process Clause. It is also
 unclear how BOP will utilize this information in assessing Mr. Jacob’s security classification.
 For these reasons, this data should not be included in the PSR, and the Court should not place
 substantial weight on the JSIN data presented in this case.
II.    The Nature and Circumstances of the Offense
       On February 12, 2023, at 1:00 in the afternoon, Mr. Jacobs took a car service, which
picked him up at his home, the same address on file with his probation officer, and drove him to
a bodega in Yonkers. PSR ¶¶ 9, 10. Mr. Jacobs entered the bodega and went to a backroom
before re-entering and going to the front of the store and spoke to a man in the store. Id. ¶ 10. He
waited for a woman to purchase a six-pack of beer and leave the bodega. Id. After she left, he
quickly walked to the front counter, brandished a gun, and demanded all the money in the
register. Id. The clerk opened the registered and gave Mr. Jacobs $200. Id. Mr. Jacobs left the
bodega and rushed toward the car service vehicle that had dropped him off and left. Id. ¶ 11.
III.   History and Characteristics of Mr. Jacobs
       Mr. Jacobs was born on June 15, 2003, to Kesha Gist and Anthony Jacobs. Id. ¶ 43. He is
their only child. Id. ¶ 45. He is the youngest in his family, with two older paternal half-sisters,
and an older maternal half-brother who is deceased. Id. ¶¶ 46, 47. His half-sisters were primarily
raised by their mother, but Mr. Jacobs was raised along-side his older half-brother, Donovan
Rose, and the two were close. Id. His father worked in the construction and maintenance fields
and his mother works as a manager at a hospital. Id. ¶ 44.
       Mr. Jacobs was raised in a residential area in Yonkers with his family. Id. ¶ 48. His home
was a loving and supportive environment. Id. ¶ 56. He felt particularly close to his father
growing up but became closer to his mom as he grew older. Id. ¶ 48. He enjoyed participating in
community basketball program at the YMCA during his childhood starting when he was 6 years
old. Id. ¶¶ 48, 56. He stayed active with sports throughout his childhood. Letter from Kesha L.
Gist, dated October 27, 2023, attached hereto as Exhibit A.
       When Mr. Jacobs was in early adolescence, the family relocated after his parents
separated for a period. Id.; PSR ¶¶ 48, 56. Although his parents eventually reconciled, they
stayed in this new area of Yonkers and soon learned that it was one where drug activity and
violence were prevalent. Exhibit A; PSR ¶¶ 48, 56. He frequently saw drug sales and people
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using drugs in his neighborhood. PSR ¶ 48. With the drug activity, there was violence as well.
Although he did not witness any shootings, he was aware of them occurring in his neighborhood,
and he witnessed people being assaulted. Id. He was also the victim of a robbery when he was 14
years old during which he was stabbed in the right leg and right ribcage. Id. ¶¶ 48, 57. He
received stiches for these injuries and has scars on both his leg and abdomen as a result. Id. ¶ 57.
No one was ever arrested for the robbery or assault. Id.
       Following this move, Mr. Jacobs started demonstrating behavioral issues. Id. ¶¶ 48, 56.
He would leave school without permission and argue with teachers. Id. ¶ 48. Due to his
behavioral issues, he was unable to play basketball for his school team. Id. He began smoking
marijuana when he was 15 years old and began spending time outside his home. Id. ¶¶ 48, 61. He
continued to smoke marijuana until his arrest here. Id. ¶ 61.
       He left school in the 8th grade after being arrested at the age of 14. Id. ¶¶ 32, 65. Within
six months he was arrested again and sentenced to a year of residential placement. Id. ¶ 33.
While in the custody of the New York State Office of Children and Family Services (“OCFS”),
when Mr. Jacobs was 15 years old, his older brother Donovan died at the age of 25 from
complications from epilepsy. Id. ¶¶ 33, 47. Mr. Jacobs was permitted to attend a private funeral
under escort and then returned to custody following the funeral. Id. ¶ 47.
       He eventually obtained his GED while in custody. Id. ¶ 67. He met Erica Scott when he
was 15 years old, and they dated on and off since that time. Id. ¶ 51. When he was 16 years old,
he started using Percocet and took it on a weekly basis. Id. ¶ 62. He started using one pill or half
a pill, but that usage increased over time. Id. He also began consuming “lean” a mixture of
promethazine and codeine. Id. ¶ 63.
       When he was 17 years old, he began a relationship with Makaila Mason, whom he dated
for two years. Id. ¶ 49. They share a son together who was born in 2021. Id. ¶ 50. Their son
resides with her, and Mr. Jacobs had regular contact with his son prior to his arrest. Id. Shortly
after he became a father, Mr. Jacobs lost his own father. Id. ¶ 44. His father died in December
2021 at the age of 52 due to complications from COVID-19. Id. Mr. Jacobs struggled after losing
his half-brother and father in untimely deaths within a short time frame. Id. ¶ 56. Following the
death of his father, his use of Percocet increased to daily use as he tried to cope with the death of
his father. Id. ¶ 62. He was using four pills of Percocet daily at the time of his arrest here. Id. His
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usage of lean also increased to multiple times of day, every day. Id. ¶ 63.
       After he and Ms. Mason ended their relationship, he began seeing Ms. Scott and has
dated her since last summer. Id. ¶ 51. They have a son together who was born earlier this
summer while Mr. Jacobs was in custody for this case. Id. ¶52. It was difficult for Mr. Jacobs to
not be able to be present for the birth of their child. Id. He has only seen his son at court
appearances, and they are still trying to coordinate a visit together at MDC where Mr. Jacobs is
currently housed. Id.
IV.    A Downward Variance Would Provide a Sentence That is Sufficient, But Not
       Greater Than Necessary

       The overriding sentencing principle, set forth in 18 U.S.C. § 3553(a), is to “impose a
sentence that is sufficient, but not greater than necessary” to comply with the purposes of
sentencing, which are retribution, deterrence, public protection, and rehabilitation. Imposing a
downward variance here would provide a sufficient, but not greater than necessary sentence as it
would reflect the serious nature of the offense, promote respect for the law, and provides a just
punishment for the offense given the equities outlined below.
       A. Mr. Jacob’s Childhood
       Mr. Jacobs was fortunate to have grown up with two loving parents who provided him a
stable environment. However, at a critical stage in his development, the family moved from their
residential neighborhood to a more violent neighborhood that was plagued by drug activity and
violence. At the age of 14, he was the victim of a serious robbery during which he was stabbed
twice and suffered significant injuries. Mr. Jacobs quickly became enmeshed in this community.
He began using drugs, which only increased with time as he began getting arrested more
frequently. The trajectory of his life is particularly devastating because he appears to have been
an excellent student with a bright future. Id. ¶ 56; Exhibit A.
       During this time, he suffered two profound, untimely losses. His half-brother, the only
sibling he had been raised with, died during an epileptic seizure at the age of 25. Mr. Jacobs was
only 15 years old at the time, and because he was in custody, he could not be with his family to
grieve. He was permitted to attend a private funeral while being escorted but was not otherwise
permitted to be with his family during that difficult time. Within three short years, his father,
who was only 52 years old, passed away due to complications from COVID-19, shortly after Mr.
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Jacobs himself had become a father. This was particularly devastating for Mr. Jacobs as he was
the youngest of his siblings and the closest to their father. Letter from Chalane Robins, attached
hereto as Exhibit B. These two untimely losses of family members that were central to his world
had a profound impact on him. It was difficult for his mother to see how this was impacting him
as she too was mourning the loss of her eldest son and her husband. Exhibit A. He has never
really addressed the impact of these losses and how they have shaped him. Exhibit B; Letter
from Denice Enders, dated October 27, 2023, attached hereto as Exhibit C. Instead, he self-
medicated with Percocet and lean.
       B. Untreated Drug Addiction
       Mr. Jacobs struggled with drug usage in his early teen years. His usage of marijuana, but
more significantly Percocet and lean, appears to have skyrocketed following the death of his
brother and father. Unable to process these feelings, he numbed himself with drugs to avoid
having to deal with these losses. Although Mr. Jacobs does not have any diagnosed mental health
conditions, he has not had an opportunity to speak to any professional regarding these losses and
how they may have impacted him. Certainly, his resulting drug usage impaired his thought
processes and likely contributed to his poor decision making and actions here.
       C. Mr. Jacobs’s Age and Immaturity
       Mr. Jacob’s young age and immaturity at the time of this offense certainly played a role
in his criminal conduct. This assertion find support in a report by the Sentencing Commission,
which has acknowledged the growing recognition that age plays a significant role in criminal
behavior. See U.S. SENT’G COMM’N, YOUTHFUL OFFENDERS IN THE FEDERAL SYSTEM (May
2015) at 5, available at https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2017/20170525_youthful-offenders.pdf. Importantly, the
Sentencing Commission has found that people may not gain full reasoning skill and ability until
they have reached the age of 25. Id. at 5. The prefrontal cortex of the brain, which is utilized in
impulse control, emotional reactions, executive function, and decision-making, is the last part of
the brain to develop. Id. at 6. In evaluating criminal conduct, the Sentencing Commission
expanded their own definition of “youthful offender” to those as old as 25 when they face federal
sentencing. Id. at 5. Mr. Jacobs was 19 when he became involved in the instant offense. As he
acknowledges, although he was old enough to know right from wrong, he was still “a childish
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kid.” Letter from Anthony Jacobs, attached hereto as Exhibit D. His young age and lack of
development certainly played a significant role in his impulsive and dangers actions.
       D. Mr. Jacob’s Early Acceptance of Responsibility
       Mr. Jacobs pleaded guilty and accepted responsibility within six months of his arrest. He
also pleaded guilty to an information, thus obviating the need for the government to present the
case to a grand jury, and produce discovery. Further, by pleading guilty, he did not take up
additional court resources by the filing of motions. Although he receives acceptance of
responsibility points under U.S.S.G. §§ 3E1.1(a), (b), he would have received these points even
if he had not waived indictment, waived discovery production, and filed motions. He respectfully
requests that his early acceptance of responsibly and saving of judicial resources should be
accounted for in his sentence.
       E. Mr. Jacobs Has Faced Harsh Conditions While in Custody
       As Mr. Jacobs acknowledges, his time in custody is the first time he has ever served time
in a true prison setting with other adults and the experience has been eye-opening. Exhibit D. He
does not wish to spend the rest of his life in this predicament. He has also served the vast
majority of his sentence at the Metropolitan Detention Center in Brooklyn. PSR ¶ 6. This facility
is severely understaffed, which results in inmates consistently being locked down in their cells
for extended periods of time. Mr. Jacobs kept track of the days in which he spent locked down in
his cell since arriving at MDC in March 2023. From the time he arrived until the filing of this
letter, he has spent 245 days at MDC Brooklyn. He has been locked down for 137 of those 245
days—more than 50% of his time at the facility.1
       It has also made it more difficult for him to visit with his family. His family is located in
Yonkers and visiting him in Brooklyn would have been difficult under the best of circumstances.
However, with understaffing at the facility, his family, specifically his mother, has made this trek
to Brooklyn only to be told after she arrived that her visit was rescheduled for the end of the day.
As a result, she could not meet with him at all. His youngest son has never been able to visit him
at this facility and Mr. Jacobs has never had the opportunity to hold him, which is particularly


1The lockdowns per month are as follows: March 2023—19 days; April 2023—20 days; May
2023—17 day; June 2023—20 days; July 2023—28 days; August 2023—19 days; September
2023—9 days; October 2023—3 days; November 2023, thus far—2 days.
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difficult as he was unable to be there for his son’s birth. Video visits are also frequently
cancelled because of understaffing at the facility. For a first exposure to a jail setting, this facility
is certainly one of the harshest.
        F. Mr. Jacob’s Still Enjoys the Support of His Family
        Despite these obstacles, Mr. Jacobs still enjoys the love and support of his family.
Exhibits A-C; Letter from Keyanna Gist, dated October 23, 2023, attached hereto as Exhibit E.
His mother has a place for him to return to once he is back in the community and is prepared to
offer him support as he transitions back to life outside of custody. Exhibit A. Although she did
not realize the extent of his actions prior to his arrest here, she appreciates now what he has gone
through and wants to support him in any way to ensure he leads a law-abiding life in the future.
Exhibit A. Further, his sister and aunts are also in a position to provide him with emotional
support following his release and remain supportive of him despite his actions here. Exhibit B, C,
D.
        G. Mr. Jacob’s Plans for Future
        Further, he appears to have given real consideration to what he will do upon his release.
Exhibit D. His history indicates that he is a smart and can succeed academically. He is interested
in pursuing college courses and being a father to his two young sons. He has also given
consideration to how he can lawfully support himself and his sons after completion of his
sentence. He has also found healthier ways of coping with his grief and is committed to
maintaining his sobriety upon release. Exhibit D. He recognizes his impetuous actions and
appears to be committed to leading a law-abiding life in the future.
        Based on the enclosed, Mr. Jacobs respectfully requests a downward variance. Thank you
for your time and consideration.

                                                Respectfully submitted,



                                                Elizabeth K. Quinn
                                                Assistant Federal Defender
                                                Counsel for Anthony Jacobs

cc: Timothy Ly, A.U.S.A. (via email)
